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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

City Of Chicago
                            Plaintiff,
v.                                                Case No.: 1:19−cv−04547
                                                  Honorable Virginia M. Kendall
Jussie Smollett
                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 14, 2022:


        MINUTE entry before the Honorable Virginia M. Kendall. Webex Status hearing
held on 9/14/2022. Parties report underlying case remains pending. Case shall remain
stayed. Status hearing set for 4/27/2022 at 9:00 AM. Mailed notice(lk, )




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